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                         UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF TEXAS
                             SAN ANTONIO DIVISION


USA                                              §
                                                 §
vs.                                              §     NO: SA:21-CR-00155(14)-DAE
                                                 §
(14) Sonia Suarez Garcia                         §


                            ORDER ACCEPTING GUILTY PLEA

       Pursuant to 28 U.S.C. §636(b), this Court referred to the Magistrate Judge the

administration of Defendant's guilty plea and allocution under Rule 11 of the Federal Rules of

Criminal Procedure. See United States v. Dees, 125 F.3d 261 (5th Cir. 1997). Defendant

consented to the administration of the guilty plea and allocution by the Magistrate Judge.

       The Court has reviewed the Memorandum and Recommendation and finds it to be neither

clearly erroneous nor contrary to law. Accordingly, the Court now accepts the Memorandum and

Recommendation of the United States Magistrate Judge filed in this case pursuant to 28 U.S.C.

§636(b)(1) such that Defendant's guilty plea is ACCEPTED.

       Any party who desires to object to a Magistrate Judge's findings and recommendations

must serve and file his written objections within fourteen days after being served with a copy of

them. If objections are filed within fourteen (14) days, this order will be rescinded and the Court

may conduct a de novo review. See 28 U.S.C. §636(b)(1) ("A judge of the court shall make a de

novo determination of those portions of the report or specified proposed findings and

recommendations to which objection is made.").
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IT IS SO ORDERED.

DATED: San Antonio, Texas, December 20,2024.




                                    ______________________________
                                    DAVID ALAN EZRA
                                    SENIOR U.S. DISTRICT JUDGE
